              THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:04-cr-00043-MR-10



UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                    ORDER
                                )
BILLY EUGENE PROFFITT, JR.,     )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion to amend the Judgment and modify the

Defendant’s obligation to pay his court-appointed counsel fee. [Doc. 369].

     The Defendant was convicted of conspiracy to manufacture and to

possess with the intent to distribute methamphetamine, in violation of 21

U.S.C. §§ 846 and 841(a)(1). [Doc. 172]. He was sentenced in May 2005

to a term of 190 months’ imprisonment and ordered to pay $1,719.00 in

restitution and to pay his court-appointed counsel fees. [Id.]. On June 15,

2015, this Court reduced the Defendant’s sentence to time served pursuant

to 18 U.S.C. § 3582(c)(2) and Amendment 782. [Doc. 343]. All other

provisions of the Defendant’s Judgment remained in effect. [Id.].



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     The Defendant now moves for the Court to modify his obligation to pay

his court-appointed counsel fees. [Doc. 369].

     The Defendant does not cite to any authority by which the Court can

now modify the requirement to reimburse the court-appointed fees, and the

Court is not aware of any such authority. While the Court may modify a fine

or special assessment based on a showing that reasonable efforts to collect

are not likely to be effective, see 18 U.S.C. § 3573, a motion pursuant to §

3573 must be filed by the Government, see United States v. Roper, 462 F.3d

336, 341 (4th Cir. 2006) (holding that court may not remit without motion of

government).    Further, while the Fourth Circuit recently held that a

reimbursement determination must be premised upon a finding of “specific

funds, assets, or asset streams” available to the defendant, United States v.

Moore, 666 F.3d 313, 322 (4th Cir. 2012), the Court is not aware of any case

applying the requirements of Moore retroactively.

     Even if there were an avenue by which the Court could afford relief,

the Defendant has not provided a financial affidavit from which the Court

could determine whether modification of the monthly payment amount would

even be warranted in this case.




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      For the foregoing reasons, the Court finds that the defendant has not

established that he is entitled to relief.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter [Doc. 369],

which the Court construes as a motion to amend the Judgment and modify

the Defendant’s obligation to pay his court-appointed counsel fee, is

DENIED.

      IT IS SO ORDERED.
                                  Signed: March 2, 2018




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